Case below, --- So.3d ----.Application for stay of execution of sentence of death presented to Justice THOMAS and by him referred to the Court denied. Petition for writ of certiorari to the Supreme Court of Florida denied. Dissenting statement by Justice BREYER. I would grant the application for stay execution and the petition for writ of certiorari limited to the Lackey claim. See Lackey v. Texas, 514 U.S. 1045, 115 S.Ct. 1421, 131 L.Ed.2d 304 (1995) (Stevens, J., respecting denial of certiorari; Elledge v. Florida, 525 U.S. 944, 119 S.Ct. 366, 142 L.Ed.2d 303 (1998) Breyer, J., dissenting from denial of certiorari); Knight v. Florida, 528 U.S. 990, 993, 120 S.Ct. 459, 145 L.Ed.2d 370 (1999) (Breyer, J., dissenting from denial of certiorari); Valle v. Florida, --- U.S. ----, 132 S.Ct. 1, 180 L.Ed.2d 940 (2011) (Breyer, J. dissenting from denial of stay).